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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW WILKINS, on behalf of himself and
all other similarly situated,

                     Plaintiff,                        Civil Action No. ______________________

         v.

 G-STAR RAW ESTORE, INC.,

                     Defendant.


                            DEFENDANT’S NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331 and 1441, Defendant G-

Star Raw eStore, Inc. (“G-Star” or “Defendant”), removes the action filed by Plaintiff Andrew

Wilkins (“Plaintiff”) identified as Andrew Wilkins v. G-Star Raw eStore, Inc., Civil Action No.

2023-09309-TT (the “State Court Action”), from the Court of Common Pleas of Chester County,

Pennsylvania, to the United States District Court for the Eastern District of Pennsylvania. In

support of this Notice of Removal, G-Star states as follows:

                                          INTRODUCTION

         1.       On or about November 21, 2023, Plaintiff filed a Complaint against Defendant in

the Court of Common Pleas of Chester County, Pennsylvania (the “Complaint”). A true and

correct copy of the Complaint filed in the State Court Action is attached hereto as Exhibit A,

which constitutes all process, pleadings, and orders received by Defendant concerning the State

Court Action. No other proceedings have been held in the State Court Action.

         2.       In the Complaint, Plaintiff asserts a single claim for violation of Title III of the

Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12182, et seq.




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                                        TIMELINESS OF REMOVAL

         3.       Upon information and belief, Defendant was not served in the State Court Action.

         4.       Pursuant to 28 U.S.C. § 1446(b), actions may be removed within thirty (30) days

“after the receipt by the defendant, through service or otherwise, of a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is based, or within 30 days

after the service of summons upon the defendant if such initial pleading has then been filed in

court and is not required to be served on the defendant, whichever period is shorter.” Therefore,

this action is removable as Defendant has not been served in the State Court action.

         5.       Defendant, the only named defendant in the Complaint, is represented by the

undersigned counsel and consents to the timely removal of the State Court Action.

                                    GROUNDS FOR REMOVAL

         6.       This Court has original jurisdiction over actions involving one or more federal

questions. See 28 U.S.C. § 1331 (conferring original jurisdiction upon federal courts for actions

arising under the laws of the United States).

         7.       Plaintiff’s only cause of action in the Complaint is for violation of Title III of the

ADA—a federal statute codified at 42 U.S.C. §§ 12181, et seq. (See Ex. A (Compl. ¶¶ 38-45).)

This action therefore presents a federal question over which this Court has original jurisdiction

pursuant to 28 U.S.C. § 1331.

         8.       Based upon the allegations in the Complaint, and without waiving any challenges

with respect to same, venue is proper in this Court because the State Court Action was filed in

the Court of Common Pleas of Chester County, Pennsylvania.

         9.       No discovery has been issued or commenced in the State Court Action.




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         NOTICE OF FILING OF REMOVAL IN COURT OF COMMON PLEAS

         10.      This Notice of Removal is being filed in the United States District Court for the

Eastern District of Pennsylvania, because this is the district court in which the State Court Action

is pending. 28 U.S.C. § 1441(a).

         11.      Pursuant to 28 U.S.C. § 1446, Defendant will file a notice of the filing of this

Notice of Removal, together with a copy of the Notice of Removal, with the Clerk of the Court

of Common Pleas of Chester County, Pennsylvania. Defendant also will serve a copy of the

notice filed with the Court of Common Pleas of Chester County, Pennsylvania on counsel for all

adverse parties.

         12.      By filing this Notice of Removal, Defendant neither admits any factual

allegations, nor waives any affirmative defenses and/or preliminary objections that may be

available to it. Removal does not constitute a waiver by Defendant of the right to seek dismissal

of the Complaint.

         13.      Should any question arise as to the propriety of this removal, Defendant requests

the opportunity to brief any disputed issues and to present oral argument in support of its

position.

         WHEREFORE, Defendant respectfully requests that the above-referenced civil action

proceed in the United States District Court for the Eastern District of Pennsylvania, as an action

properly removed to that court.




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                                             Respectfully submitted,
Dated: December 20, 2023
                                             SEYFARTH SHAW LLP

                                             Attorneys for Defendant,
                                             G-Star Raw eStore, Inc.



                                             By: /s/ Jacob Oslick
                                                 Jacob Oslick
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW WILKINS, on behalf of himself
and all other similarly situated,

                     Plaintiff,
                                                 Civil Action No. ______________________
         v.

G-STAR RAW ESTORE, INC.,

                     Defendant.



                                  CERTIFICATE OF SERVICE


         I certify that on December 20, 2023 I served the foregoing DEFENDANT’S NOTICE OF

REMOVAL on the following attorney of record by U.S. regular mail, proper postage prepaid

addressed as follows:

         Daniel Zemel, Esq.
         Zemel Law LLC
         400 Sylvan Avenue, Suite 200
         Englewood, NJ 07632
                                                                      By: _/s/ Jacob Oslick
                                                                               Jacob Oslick
                                                                     Attorney for Defendant




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